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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                        :      CHAPTER 7
                                                 :
   BRENDA K. ROBERTSON,                          :      CASE NO. 15-53700-WLH
                                                 :
            Debtor.                              :
                                                 :

                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On or about January 15, 2019, the Trustee sold Mykassi Ventures, LLC’s interest

   in Lots 1, 2, 3, 4, 5, and 6 Hardman Place, LL83, 11th District, Habersham County,

   Georgia 30523 (“Property”), controlled through the bankruptcy estate’s membership

   interest in Mykassi Ventures, LLC, to Rick E. Wood (“Purchaser”) for $78,000.00

   pursuant to the Order Granting Trustee’s Motion for Authority to Vote Membership

   Interest of Mykassi Ventures, LLC to (1) Sell Assets of Limited Liability Company; (2)

   Distribute the Assets of the Limited Liability Company; and (3) Wind-Up the Financial

   Affairs of the Limited Liability Company [Doc. No. 332] entered on November 14, 2018.

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchaser




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   and is currently holding $60,281.291 from the sale in a bank account in the name of

   Mykassi Ventures, LLC. The net proceeds after payments of all debts of MyKassi

   Ventures, LLC (none anticipated) will be distributed to the Trustee upon the wind-up and

   final distribution of MyKassi Ventures LLC.

           Respectfully submitted this 23rd day of January, 2019.

                                                            /s
                                                        S. Gregory Hays
   Hays Financial Consulting, LLC                       Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net




   1
           Contemporaneously with the filing of this report of sale, Trustee will file a motion
   requesting authority to pay Bullseye Auction & Appraisal, LLC $7,800.00 of commission
   and $431.97 in expenses resulting from the sale. These funds are currently being held by
   the closing attorney.


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                                   Exhibit “A”




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                                  CERTIFICATE OF SERVICE

           I hereby certify that I am over the age of 18 and that on this day I served a copy of

   the foregoing REPORT OF SALE by first class U.S. Mail, with adequate postage prepaid

   on the following persons or entities at the addresses stated:

                Office of the United States Trustee
                362 Richard B. Russell Building
                75 Ted Turner Drive, SW
                Atlanta, GA 30303

                Brenda Kay Robertson
                78 Wall Street
                Hampton, GA 30228

                Katherine J. Hill
                Hicks Hill, LLC
                Suite 210
                305 Lawrence Street
                Marietta, GA 30060

   Dated: January 23, 2019.

                                                            /s
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net




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